            Case 5:21-cv-00483-HE Document 87 Filed 10/17/22 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF OKLAHOMA

 EQUAL EMPLOYMENT                                   )
 OPPORTUNITY COMMISSION,                            )
                                                    )
        Plaintiff,                                  ) CIV-21-00483-HE
                                                    )
 v.                                                 )
                                                    )
 HILAND DAIRY FOODS                                 ) November 2022 Trial Docket
 COMPANY, LLC,                                      )
                                                    )
                Defendant.                          )


            JOINT MOTION TO CONTINUE AND/OR SPECIALLY SET TRIAL

       Plaintiff Equal Employment Opportunity Commission (“EEOC”) and Defendant

Hiland Dairy Foods Company, LLC (“Hiland”) jointly move the Court to continue the

trial to the December 2022 trial docket and/or to specially set trial the week of November

28, 2022.

       1.      Trial is currently set for the Court’s November 2022 trial docket, and

Docket Call is set for October 26, 2022. See Order (Doc. No. 85).

       2.      On or about October 6, 2022, EEOC first learned that one of its testifying

experts, Dr. Matthew Goren, a practicing ophthalmologist and medical professor from

Chicago, Illinois, has a family medical emergency that impacts his ability to testify at

trial during the first half of November 2022.

       3.      Specifically, Dr. Goren’s father is suffering from end stage renal disease

and is contemplating starting dialysis, which Dr. Goren believes will prevent him from
             Case 5:21-cv-00483-HE Document 87 Filed 10/17/22 Page 2 of 4




traveling, including to a previously planned work trip to India. Thus, Dr. Goren is unable

to testify on or before November 14, 2022.

        4.      Dr. Goren’s testimony will help the jury understand Berry’s disability and

functional vision, including his reading and limitations, and the possible accommodations

Hiland could have provided Berry. He will also explain to the jury the concepts of legal

vision and color vision and opine about the sufficiency of Dr. Kevin Penwell’s pre-

employment evaluation of Berry. Dr. Goren was not deposed during discovery and

Hiland did not move to exclude his testimony before trial.

        5.      Further, Hiland’s witness, Steven Boydston, the Plant Manager of the

facility at issue in this case has a non-refundable pre-paid 18th anniversary trip planned

with his wife from November 16-22, 2022.

        6.      Thus, the parties jointly request the Court continue the trial to the

December 2022 trial docket and/or specially set the trial the week of November 28, 2022.

        7.      Previously, on April 25, 2022, the Court entered a Revised Scheduling

Order (Doc. No. 85) for all deadlines, including the trial setting, following Hiland’s

opposed Motion to Reset Scheduling Order and Trial Date (Doc. No. 47) and the parties’

April 22, 2022 joint resolution of that motion (Doc. No. 50) agreeing to extend

deadlines/trial date by forty-five days. No other prior request to continue or specially set

the trial date has been requested by either party.

        WHEREFORE, the parties respectfully move the Court to continue the trial to

the December 2022 trial docket and/or to specially set trial the week of November 28,

2022.

                                                2
Case 5:21-cv-00483-HE Document 87 Filed 10/17/22 Page 3 of 4




                           Respectfully submitted,


                           /s/ Patrick J. Holman
                           Patrick J. Holman, OBA No. 21216
                           Joshua C. Stockton, OBA No. 21833
                           EQUAL EMPLOYMENT OPPORTUNITY
                           COMMISSION
                           Oklahoma City Area Office
                           215 Dean A. McGee Avenue, Suite 524
                           Phone: (405) 666-0374
                           patrick.holman@eeoc.gov
                           joshua.stockton@eeoc.gov

                           ATTORNEYS FOR PLAINTIFF EEOC

                           -&-

                           /s/ Nadrew J. Matrone*
                           Andrew J. Martone, pro hac vice
                           Abigail B. Schwab, pro hac vice
                           Angela K. Scott, pro hac vice
                           Hesse Martone, P.C.
                           530 Maryville Centre Drive, Suite 250
                           St. Louis, MO 63141
                           (314) 862-0300 Phone
                           (314) 862-7010
                           andymartone@hessemartone.com
                           abbyschwab@hessemartone.com
                           angiescott@hessemartone.com

                           Benjamin Oxford, OBA #22259
                           Oxford Lehr, PLLC
                           1800 S Baltimore Avenue, Ste 825
                           Tulsa, OK 74119
                           (918) 884-6016 Phone
                           (888) 424-7080 Fax
                           ben@oxfordlehr.com
                           ATTORNEYS FOR DEFENDANT

                           *(e-signature provided by EEOC counsel
                           with authorization of Hiland counsel)


                             3
         Case 5:21-cv-00483-HE Document 87 Filed 10/17/22 Page 4 of 4




                            CERTIFICATE OF SERVICE

       I hereby certify that on October 17, 2022, I electronically transmitted the attached
document to the Court Clerk using the Electronic Case Filing System for filing. Based on
the records currently on file in this case, the Clerk of Court will transmit a Notice of
Electronic Filing to those registered participants of the ECF System.


                                                 /s/ Patrick J. Holman
                                                 Patrick J. Holman




                                             4
